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 6                       IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
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 9   Ronald H. Pratte,                              Case No. 2:19-cv-00239-PHX-GMS
10                        Plaintiff,                PROPOSED ORDER GRANTING
                                                    UNOPPOSED MOTION TO MODIFY
11                                                  DEADLINE FOR COMPLETION OF
     vs.                                            FACT DISCOVERY
12
     Jeffrey Bardwell and Fanny F. Bardwell,
13   husband and wife,
14                        Defendants.
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16         The Court, having reviewed the Unopposed Motion to Modify Deadline for
17   Completion of Fact Discovery, and good cause appearing therefor,
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           Orders that the deadline for final supplementation of MIDP responses and the
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     completion of fact discovery, including discovery by subpoena, is extended from
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     February 28, 2020 to March 20, 2020. The remaining deadlines in this case remain the
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     same as set forth in the Court’s January 27, 2020 Order (Doc. 37).
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